Case 2:15-cr-00149-SPC-MRM Document 71 Filed 04/04/16 Page 1 of 2 PageID 230




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION


UNITED STATES OF AMERICA

v.                                             Case No. 2:15-cr-149-FtM-38MRM

NORRIS WILLIAMS,                               _____ Evidentiary
                                               __X__ Trial
                   Defendant.                        Other




                            AMENDED WITNESS LIST
                       X    Government     _______ Defendant

                            Name                            Date(s) Testified
                                                                   (Court only)


1..   Detective Samuel Gonzalez, LCSO


2.    Senior Forensic Chemist Carlos J. Diaz


3.    Senior Forensic Chemist Deepa Vanmali


4.    Senior Forensic Chemist Alexandra Gongora


5.    TFA Victor Chica


6.    Special Agent Mark Strang, DEA


7.    Senior Forensic Chemist Theresa Beyerle
      Browning


8.    Steve Duquette, Special Agent, DEA


9.    Courtney Allen
Case 2:15-cr-00149-SPC-MRM Document 71 Filed 04/04/16 Page 2 of 2 PageID 231




10. Adam Heinlein, Task Force Agent, DEA



11. Candice Petaccio, Task Force Agent, DEA
